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                                                         [PUBLISH]
                                In the
             United States Court of Appeals
                      For the Eleventh Circuit

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                              No. 19-10746
                       ____________________

    UNITED STATES OF AMERICA,
                                                   Plaintiff-Appellee,
    versus
    ASHA R. MAURYA,


                                               Defendant-Appellant.


                       ____________________

              Appeals from the United States District Court
                  for the Northern District of Georgia
               D.C. Docket No. 1:16-cr-00065-ELR-CMS-2
                        ____________________
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                             No. 19-11040
                      ____________________

    UNITED STATES OF AMERICA,
                                                   Plaintiff-Appellee,
    versus
    NATHAN E. HARDWICK, IV,


                                                Defendant-Appellant.


                      ____________________

             Appeals from the United States District Court
                 for the Northern District of Georgia
              D.C. Docket No. 1:16-cr-00065-ELR-CMS-1
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                             No. 19-12108
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    UNITED STATES OF AMERICA,
                                                   Plaintiff-Appellee,
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    versus
    ASHA R. MAURYA,


                                                  Defendant-Appellant.


                        ____________________

               Appeals from the United States District Court
                   for the Northern District of Georgia
                D.C. Docket No. 1:16-cr-00065-ELR-CMS-2
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                               No. 19-12140
                        ____________________

    UNITED STATES OF AMERICA,
                                                     Plaintiff-Appellee,
    versus
    NATHAN E. HARDWICK, IV,


                                                  Defendant-Appellant.
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              Appeals from the United States District Court
                  for the Northern District of Georgia
               D.C. Docket No. 1:16-cr-00065-ELR-CMS-1
                        ____________________


    Before WILLIAM PRYOR, Chief Judge, GRANT, and ANDERSON, Cir-
    cuit Judges.
    GRANT, Circuit Judge:
            This case concerns two defendants found guilty of
    orchestrating large-scale corporate fraud. Nathan Hardwick was
    convicted at trial on counts of conspiracy, making a false statement
    to a financial institution, and wire fraud. The district court
    sentenced him to 15 years in prison and required him, along with
    his alleged co-conspirator Asha Maurya, to pay over $40 million in
    restitution. Hardwick argues on appeal that the district court failed
    to support its restitution order with the reasoning required by law.
    He also attacks his convictions on a number of grounds and
    contends that his sentence is substantively unreasonable. We agree
    with Hardwick that the district court must vacate and reissue its
    restitution order, but we otherwise affirm Hardwick’s convictions
    and sentence.
           Hardwick’s case has been consolidated with Maurya’s on
    appeal. Maurya pleaded guilty to conspiracy to commit wire fraud.
    She joins Hardwick’s challenge of the restitution order, and further
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    argues that the district court violated the Ex Post Facto Clause of
    the U.S. Constitution by applying a sentencing enhancement issued
    after she committed the offense. The government concedes that
    the district court made these errors, and we agree: Maurya must be
    resentenced.
                                    I.
           In 2005, Nathan Hardwick helped found a real estate law
    firm called Morris Hardwick Schneider (MHS). Hardwick
    managed MHS’s “closing side,” including its client trust and
    operating accounts. After two years, MHS sold part of its
    foreclosure operation to a private equity group, and Hardwick
    received $14 or $15 million in compensation. Even so, Hardwick
    soon found himself mired in both public and private misfortune:
    the 2008 financial crisis and an acrimonious divorce. His assets
    were hit hard. Within three years, the $15 million was gone—and
    Hardwick owed millions in loans he couldn’t repay, many of them
    gambling debts.
            Hardwick eventually turned to unscrupulous methods to
    satisfy his creditors. When a bank and a casino sued him to recover
    unpaid debts, Hardwick lied to a different bank in a line-of-credit
    application, claiming that there were no suits pending against him.
    But a single line of credit wasn’t enough to solve Hardwick’s
    money problems, so he turned to a more fertile source of income:
    his law firm. From 2011 to 2014, Hardwick siphoned off about
    $26.5 million from MHS while carefully hiding the withdrawals
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    from other shareholders. Around $19 million of this money came
    from MHS’s trust accounts.
            Hardwick relied heavily on the help of Asha Maurya, who
    initially worked at MHS as a controller. Maurya had no accounting
    experience when MHS hired her. But unbeknownst to her new
    supervisor, she did have a history of embezzling from her previous
    employers. Maurya’s duties included managing, setting up, and
    monitoring client trust accounts. She oversaw the staggering cash
    flow—millions, sometimes billions, of dollars—that went in and
    out of those trust accounts. Although her position in the firm
    hierarchy meant she did not directly report to Hardwick, Maurya
    often went straight to him to discuss issues and concerns. Soon
    enough, Hardwick promoted Maurya to CFO, giving her even
    broader authority over the trust accounts.
           When Maurya received her promotion, she also got
    something else—a vital role in Hardwick’s embezzlement scheme.
    At Hardwick’s request, she repeatedly sent money from MHS to
    Hardwick or his creditors and significantly underreported
    distributions to Hardwick. In return, Hardwick assured Maurya
    that she had “earned [his] trust and respect” and was “now part of
    [his] small inner circle.”
          With so much money draining out of MHS accounts,
    someone was bound to notice. The scheme began to unravel in
    summer 2014, when an internal audit by one of MHS’s business
    partners revealed an altered bank statement. When confronted,
    Hardwick was quick to distance himself from Maurya—in spite of
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    his private accolades to her. He claimed that she had “duped” him
    by stealing money from MHS, altering the firm’s records to cover
    her tracks, and sending him payouts to hide the firm’s real financial
    situation. After further investigation revealed large payments from
    MHS to Hardwick and his casino creditors, however, it became
    clear that “the jig was up.”
           A grand jury indicted Hardwick and Maurya. After Maurya
    pleaded guilty, the grand jury issued a superseding indictment
    against Hardwick. He went to trial, where he was convicted of
    wire fraud, conspiracy to commit wire fraud, and making false
    statements to a federally insured financial institution. The district
    court sentenced him to 180 months in prison—an upward variance
    from the Guidelines range of 108 to 135 months. Maurya received
    a sentence of 84 months. The court also issued a restitution order
    requiring Maurya and Hardwick to “pay restitution, jointly and
    severally, in the amount of $40,307,431.00.”
          Both defendants now appeal. Maurya asks the court to
    vacate both the restitution order and her sentence. Hardwick
    requests the same relief, but he also directly challenges his
    convictions.
                                     II.
          We begin with Maurya’s appeal. Maurya first argues that
    her sentence must be vacated because the district court applied a
    sentencing enhancement that did not exist when her offense was
    committed.     The sentence, she says, thus violated the
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    Constitution’s prohibition against ex post facto laws. See U.S.
    Const. art. I, § 9. The government agrees.
           Maurya did not raise this argument below, so we review it
    for plain error. United States v. Abraham, 386 F.3d 1033, 1037 (11th
    Cir. 2004). Under that standard, Maurya must establish (1) an
    error, (2) that is plain, (3) that affects her substantial rights, and (4)
    that, “if left uncorrected, would seriously affect the fairness,
    integrity, or public reputation of a judicial proceeding.” Id. at 1036
    n.1 (quotation omitted).
           Each prong is satisfied here. Though courts typically apply
    the Guidelines in effect at the time of sentencing, the Ex Post Facto
    Clause prohibits the use of Guidelines issued after the offense that
    create a higher applicable sentencing range. See United States v.
    Elbeblawy, 899 F.3d 925, 939 (11th Cir. 2018); Peugh v. United
    States, 569 U.S. 530, 533 (2013). Here, the district court used the
    2018 Guidelines, which included a two-level substantial financial
    hardship enhancement added in 2015—that is, after Maurya’s
    offense, which ended “in or about August 2014.” See U.S.S.G.
    § 2B1.1(b)(2)(A)(iii) (2018). Applying the 2018 Guidelines was thus
    error. And that error was unmistakably plain: it was “obvious”
    and “clear under current law” that the district court could not apply
    an enhancement issued after Maurya committed the offense.
    United States v. Madden, 733 F.3d 1314, 1322 (11th Cir. 2013)
    (quotation omitted).
           Using the wrong Guidelines meant that the district court
    calculated the wrong Guidelines range. And the application of an
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    incorrect Guidelines range is almost always enough “to show a
    reasonable probability of a different outcome absent the error.”
    Rosales-Mireles v. United States, 138 S. Ct. 1897, 1907 (2018)
    (quotation omitted). With no extenuating circumstances to
    suggest otherwise, we hold that the error here affected Maurya’s
    substantial rights. And while defendants usually face an uphill
    climb in showing that an error seriously affects the fairness,
    integrity, or reputation of a judicial proceeding, “proof of a plain
    Guidelines error that affects the defendant’s substantial rights is
    sufficient to meet that burden.” Id. at 1909 n.4; see also id. at 1908.
    The district court’s error thus requires Maurya to be resentenced. 1
           Maurya (joined by Hardwick) also challenges the district
    court’s restitution order. “To enable meaningful appellate
    review,” though, “a district court’s calculation of restitution must
    be supported by specific factual findings.” United States v.
    Singletary, 649 F.3d 1212, 1222 (11th Cir. 2011). And the district
    court—as the government concedes—gave us no factual findings
    to consider. The only course open to us, then, is to vacate the order
    and remand the case for the district court to correct its oversight.
    Id.



    1 Maurya further requests that we remand with instructions that the district
    court issue a new sentence under a specific offense level and within a specific
    range. But we decline this invitation, mindful that the district court is “in a
    superior position to find facts and judge their import under § 3553(a) in the
    individual case.” Gall v. United States, 552 U.S. 38, 51 (2007).
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                                          III.
                                           A.
           We now turn to Hardwick’s lengthy series of challenges to
     his convictions. To begin, Hardwick argues that he was
     “prevented from effectively meeting the Government’s case”
     because the district court denied his request for a bill of particulars
     before trial.
           We review a denial of a motion for a bill of particulars for
     abuse of discretion. United States v. Davis, 854 F.3d 1276, 1293
     (11th Cir. 2017). “To show an abuse of discretion, a defendant
     must establish that he actually was surprised at trial and that the
     denial of the request for a bill of particulars prejudiced his
     substantial rights.” Id.
            In his brief on appeal, Hardwick summarizes the
     information he requested as “(1) to what Hardwick was entitled,
     (2) what money did Hardwick receive to which he was not entitled,
     and (3) how did the Government make this determination.” This
     simple characterization belies the level of detail requested by
     Hardwick’s proposed bill of particulars, which included a battery
     of specific questions. 2 The district court rejected the motion



     2   For instance, Hardwick asked:
               1. With regard to Counts 2 – 22 (the substantive wire fraud
               counts):
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     because it found that Hardwick’s indictment “sufficiently
     inform[ed] Defendant of the charges against him to adequately
     prepare his defense and minimize surprise at trial.”
            The district court’s reasoning was correct. The purpose of a
     bill of particulars is threefold: “to inform the defendant of the
     charge against him with sufficient precision to allow him to prepare
     his defense, to minimize surprise at trial, and to enable him to plead
     double jeopardy in the event of a later prosecution for the same
     offense.” United States v. Warren, 772 F.2d 827, 837 (11th Cir.
     1985). But a bill of particulars cannot be used as a weapon to force
     the government into divulging its prosecution strategy; we do not
     allow defendants to “compel the government to detailed
     exposition of its evidence or to explain the legal theories upon
     which it intends to rely at trial” in that manner. United States v.
     Burgin, 621 F.2d 1352, 1359 (5th Cir. 1980). 3


            a. What amount of money had been distributed to the other
            shareholders as of the date of that wire transfer, and from what
            accounts were those distributions made?
            b. What was Hardwick “entitled to” as of the date of that wire
            transfer?
            c. What amount of money obtained from the trust account
            (#7328) was “client” money, as opposed to law firm money
            (i.e., money that was destined to be transferred to the
            operating account of the law firm)?
     3This Court adopted as binding precedent all decisions of the former Fifth
     Circuit handed down prior to October 1, 1981, in Bonner v. City of Prichard,
     661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).
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             The first superseding indictment put Hardwick on adequate
     notice of the charges against him. He was fully aware of the crimes
     he was being charged with and had adequate time and information
     to plan his defense. Indeed, Hardwick’s proposed bill of particulars
     even references the specific transactions that the government
     contended were fraud, showing that he understood the specific
     charges against him in detail. At bottom, Hardwick simply wanted
     the government to explain ahead of time which transactions,
     amounts, accounts, and other details would be most significant at
     trial; essentially, he asked about the government’s specific legal
     “theory.” And he also tried to use a bill of particulars to “compel
     the government to provide the essential facts regarding the
     existence and formation of a conspiracy”—a practice we have
     explicitly forbidden. United States v. Rosenthal, 793 F.2d 1214,
     1227 (11th Cir. 1986), modified, 801 F.2d 378 (11th Cir. 1986).
            Hardwick’s request for a bill of particulars seeking that kind
     of information is inappropriate. The district court did not abuse its
     discretion by denying his motion.
                                      B.
            Hardwick next appeals the district court’s decision to
     exclude certain evidence of Maurya’s bad acts offered under Rule
     404(b). At trial, Hardwick argued that Maurya was the mastermind
     (and sole knowing participant) behind the scheme to defraud MHS.
     He asserted that Maurya went from one employer to another,
     siphoning off company money for herself and altering the
     companies’ records to hide her tracks. According to Hardwick, she
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     would then lie to her supervisors, luring them into complacency
     with financial distributions designed to convince them the
     company was prospering. So, Hardwick explained, Maurya had
     orchestrated the massive cash distributions to his personal
     accounts and creditors to keep him blissfully ignorant of her fraud.
            To prove this theory, Hardwick attempted to introduce a
     stack of evidence: a suicide note from a former romantic partner
     and MHS coworker; a video of Maurya lying to a former employer;
     and testimony from Maurya and four of her employers, who
     Hardwick says were in a “unique position to testify as to how a
     hallmark of Maurya’s modus operandi was to create an ‘aura of
     prosperity’” at each company where she had worked. The district
     court limited Hardwick’s 404(b) evidence to testimony from two
     of Maurya’s former employers. He now argues that this decision
     “gutted” his defense.
            We review evidentiary rulings for abuse of discretion, and
     we see no such abuse here. United States v. LaFond, 783 F.3d 1216,
     1221 (11th Cir. 2015). The court provided a well-reasoned basis for
     excluding each piece of 404(b) evidence offered by Hardwick.
            First, the suicide note. The court initially allowed the note
     into evidence under the residual exception to the hearsay rule. See
     FED. R. EVID. 807. But after both parties provided more
     information, the court excluded the note, finding that it was not as
     trustworthy or uniquely probative as it had first appeared.
     Furthermore, neither party had proven the note’s authenticity.
     The court also explained that the note was cumulative: “there is
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     other evidence indicating Ms. Maurya’s previous untruthfulness
     that does not involve the suicide note.” Exclusion of the note on
     these grounds was well within the bounds of the district court’s
     discretion.
             Second, Hardwick argues that we should reverse the
     exclusion of the video because the district court excluded it
     “without providing a basis for its ruling.” To start, the failure of
     the district court to supply an explanation for an evidentiary
     exclusion is not grounds for reversal. In any case, at trial the
     government offered two bases for the court’s ruling: the video was
     hearsay, and the video lacked a foundation. We can fairly assume
     that the district court agreed with one or both of these grounds for
     exclusion, and Hardwick challenges neither. We see no abuse of
     discretion in the court’s decision to exclude the video.
             Third and finally, the witnesses. 4 Hardwick tried to call two
     witnesses from each of two companies where Maurya had


     4 The district court made no determination on the admissibility of testimony
     from Maurya herself. The government decided not to call Maurya as a
     witness, and Hardwick could not question Maurya directly because she
     indicated that she would invoke her Fifth Amendment right not to incriminate
     herself if called to the stand.
     Hardwick also argues that the court abused its discretion when it “limited
     which defense attorney would be allowed to present evidence regarding Mau-
     rya”—that is, conduct the examination. But he offers no explanation as to how
     the court’s instruction harmed his defense. We consider the judge’s instruc-
     tion to be within the district court’s broad discretion to regulate criminal trial
     procedure. See FED. R. CRIM. P. 57(b).
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     previously worked. The court limited the defense to one witness
     from each company because it wanted to avoid making the trial “a
     mini-trial about Ms. Maurya.” The defense initially agreed. But it
     soon switched gears and objected, claiming that “it takes two
     witnesses [per company] to adequately show” Maurya’s pattern of
     deception.
             “A district court may limit the number of defense witnesses”
     when the proposed testimony “would be cumulative.” United
     States v. Wuagneux, 683 F.2d 1343, 1355 (11th Cir. 1982). That’s
     what happened here. Hardwick insists that “the likely cumulative
     impact of the allowed and excluded testimony, taken together,
     should not be underestimated since corroboration is a fundamental
     tool of persuasion.” (Quotation and brackets omitted). And he
     argues that remedies less extreme than exclusion were possible.
     But as proof, he offers only generalized statements that his defense
     was seriously hampered by the court’s exclusion of two witnesses.
     Indeed, he admits that had four witnesses been called, “it is likely
     and expected that their testimonies would have overlapped in
     some respects.” The district court did not abuse its discretion when
     it declined to admit the testimony of the two excluded witnesses.
                                     C.
            Hardwick also faults the district court for allowing evidence
     it should not have. His target is Exhibit 1001, a chart showing
     MHS’s net income from 2011 to 2013 along with payments made
     from MHS to Hardwick (or on his behalf) during that same period.
     Hardwick asserts that the Exhibit inaccurately represents MHS’s
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     income, and is misleading because it shows distributions made to
     Hardwick out of their proper context.
            We review a district court’s decision to allow a summary
     chart for abuse of discretion. United States v. Richardson, 233 F.3d
     1285, 1293 (11th Cir. 2000). Summary charts are “permitted
     generally by Federal Rule of Evidence 1006.” Id. But to curb abuse,
     those charts are admissible only when any assumptions they make
     are “supported by evidence in the record.” Id. at 1294 (quotation
     omitted).
            That requirement is satisfied here. The chart’s net income
     numbers come directly from MHS’s audited financial statements.
     Hardwick argues that Maurya might have “manipulated” the
     documents underlying those statements; he also points to
     discrepancies between the audits and MHS’s tax returns. But an
     auditor testified that the statements were trustworthy, and it was
     for the jury to decide who to believe.
            Hardwick further argues that, even if accurate, the chart is
     misleading because it places two unrelated figures side-by-side:
     MHS’s profits and its distributions to him. He insists that
     comparing the two numbers was something that “no one in the
     law firm ever did,” and it was therefore unfair to ask the jury to do
     so. We disagree. Hardwick can hardly argue that a comparison of
     the two figures is irrelevant when he had earlier claimed that he
     “believed that the money [he] received came from [his] share of the
     profits.” The district court did not abuse its discretion by allowing
     Exhibit 1001 into evidence.
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                                       D.
            Hardwick mounts his final evidentiary challenge against a
     question the government asked one of Maurya’s employers from
     after her time at MHS: “Did you know back at the time that Ms.
     Maurya was working for you, did you know whether she had
     agreed to plead guilty to conspiracy in connection with her prior
     employment?” Hardwick objects to the question as lacking a
     foundation, as including “inadmissible hearsay,” and as causing
     unfair prejudice because “the Government was allowed to
     introduce evidence that Maurya admitted to joining a conspiracy
     without ever calling her to testify and allowing the Defense to
     cross-examine her.” (Emphasis omitted).
            Hardwick suggests a number of possible grounds for
     exclusion, but because the defense had already informed the jury
     of Maurya’s plea deal, we find no error in the district court’s ruling.
     The government’s single question regarding Maurya’s guilty plea
     was asked after the defense had already told the jury about
     Maurya’s plea during its opening statement. There, defense
     counsel explained:
            [U]ltimately [Maurya] sold her story to the
            government and became a witness. Went down,
            decided to cut a deal. Now, here is the woman that
            had stolen almost nine hundred thousand dollars.
            She cuts a deal with the government: I will testify for
            you. She believes that they will go lenient on her, and
            they give her a five-year cap on crimes that could
            take—you could get a life sentence on. She gets a cap,
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            and that deal says you have to be truthful. You have
            to tell the truth. She signs that deal . . . .

            The district court allowed the question after specifically
     noting that the subject of Maurya’s guilty plea had already been
     raised in opening. The defense’s only response was that an opening
     statement “is not evidence.” That is true—but even so, a party
     cannot repeatedly emphasize a fact at length in an opening
     statement and then hope to persuade us that prejudice has resulted
     when the opposing party references it in a single question. The
     defense repeatedly told the jury that Maurya had entered a plea
     deal; Hardwick cannot possibly complain that the government led
     the jury to believe his own assertion. The district court did not
     abuse its discretion in allowing the question.
                                       E.
            Hardwick also challenges the sufficiency of the evidence,
     arguing that the court erred in denying his motion for judgment of
     acquittal because his convictions were unsupported by the record.
     We review a denial of a motion for judgment of acquittal de novo.
     United States v. Broughton, 689 F.3d 1260, 1276 (11th Cir. 2012).
     The evidence is sufficient if, taking it in the light most favorable to
     the government, “a reasonable trier of fact could find that the
     evidence established guilt beyond a reasonable doubt.” Id.
            We consider each of Hardwick’s convictions in turn,
     beginning with conspiracy to commit wire fraud under 18 U.S.C.
     § 1349. To prove conspiracy, the government needed to show that
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     “(1) a conspiracy existed; (2) the defendant knew of it; and (3) the
     defendant knowingly and voluntarily joined it.” United States v.
     Moran, 778 F.3d 942, 960 (11th Cir. 2015).
             Hardwick argues that “[t]heoretically, the only evidence
     that could link Hardwick to a conspiracy with Maurya was
     Maurya’s testimony, which the Government chose not to rely
     upon.” But the record belies that assertion. To begin, the
     government introduced several communications between
     Hardwick and Maurya suggesting an understanding between the
     two about the fraudulent nature of the transfers. And further
     evidence suggested that Hardwick knowingly received far more
     money than he could have expected from ordinary distributions. It
     is true that inferences were required to connect the dots; as in many
     white-collar trials, the government produced not a smoking gun
     but a pile of documents and figures. And here those documents
     and figures gave the jury ample evidence to find that Hardwick and
     Maurya were entangled in an embezzlement conspiracy.
            We next consider Hardwick’s 21 convictions of wire fraud
     under 18 U.S.C. § 1343, which required the government to prove
     both “(1) intentional participation in a scheme to defraud and (2)
     use of the interstate wires in furtherance of the scheme.” United
     States v. Hasson, 333 F.3d 1264, 1270 (11th Cir. 2003). Hardwick
     conceded the second element of this offense at trial. And as we
     have just explained, the government offered substantial evidence
     to support its allegations that Hardwick intentionally participated
     in a scheme to defraud MHS. On appeal, Hardwick argues that
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     § 1343 impliedly required the government to also show “what
     Hardwick was actually entitled to receive.” But that argument
     finds no support in § 1343’s text or this Circuit’s precedent. The
     evidence supports Hardwick’s fraud convictions.
            Finally, we turn to Hardwick’s conviction under 18 U.S.C.
     § 1014 for making a false statement to an FDIC-insured financial
     institution. For this offense, the government needed to prove that
     Hardwick “made a false statement or report” and that he did so on
     an application for the purpose of influencing a federally insured
     financial institution. Williams v. United States, 458 U.S. 279, 284
     (1982) (quotation omitted).
             Here, Hardwick undeniably made a false statement—he
     claimed that there were no pending lawsuits against him, when in
     fact there were two. And he made that statement in an application
     for a line of credit. Given the context and content of his statement,
     a reasonable jury could infer that he made it to influence the bank’s
     willingness to extend him credit. Hardwick now asserts that the
     line-of-credit application was a “mere formality” and that his false
     statement was simply an oversight. But the jury heard evidence to
     the contrary. For instance, a loan officer from the bank providing
     the application testified that “based on underwriting criteria, with
     the kind of payments [seen] here, there’s no way that [Hardwick]
     would have qualified for the loan.” The jury was free to believe
     that testimony over Hardwick’s.
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           In sum, we find that the evidence was sufficient to convict
     Hardwick on all counts and that the district court did not err in
     denying his motion for a judgment of acquittal.
                                      F.
            We turn next to the jury instructions. The district court
     instructed the jury on deliberate ignorance, explaining that if “a
     defendant’s knowledge of a fact is an essential part of a crime, it’s
     enough that the defendant was aware of a high probability that the
     fact existed, unless the defendant actually believed the fact did not
     exist.” Hardwick argues that this was error because “there was no
     evidence to support such a charge,” since “the Government had
     throughout the trial indicated that Hardwick was fully aware of the
     fraud and participated in the alleged conspiracy.”
            Challenges to jury instructions present questions of law, so
     we apply de novo review. United States v. Stone, 9 F.3d 934, 937
     (11th Cir. 1993). District courts “should not instruct the jury on
     deliberate ignorance when the relevant evidence points only to
     actual knowledge, rather than deliberate avoidance.” United States
     v. Steed, 548 F.3d 961, 977 (11th Cir. 2008) (quotations omitted).
     But “instructing the jury on deliberate ignorance is harmless error
     where the jury was also instructed and could have convicted on an
     alternative, sufficiently supported theory of actual knowledge.” Id.
           The district court also instructed the jury that it could
     convict Hardwick based on actual knowledge and, as we have
     already explained, there was enough evidence to support
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     Hardwick’s convictions on that theory. We therefore hold that any
     error on this point was harmless.
                                       G.
            In a final bid to have his convictions vacated, Hardwick
     argues that the district court’s errors “pervaded every stage of the
     proceedings” such that they cumulatively rendered the trial
     “fundamentally unfair.” We review the cumulative impact of trial
     errors de novo, and reverse only “if, in total, the non-reversible
     errors result in a denial of the constitutional right to a fair trial.”
     United States v. Pendergrass, 995 F.3d 858, 881 (11th Cir. 2021).
            Having already considered each alleged error, we find that
     Hardwick’s claim of cumulative error also fails. Any error in the
     jury instructions did not deny Hardwick a fair trial; our precedent
     makes clear that such error would be harmless. Steed, 548 F.3d at
     977. And aside from that issue, we have identified no other errors
     in Hardwick’s trial. A single harmless error cannot possibly render
     Hardwick’s trial fundamentally unfair—especially given the
     quantity and quality of evidence in this case.
                                      IV.
           Hardwick makes one final argument: that his sentence is
     substantively unreasonable. He contends that the district court
     improperly departed upward from the Sentencing Guidelines
     recommendation of 108 to 135 months by imposing a sentence of
     180 months, and that the court further failed to properly weigh his
     “overwhelming positive characteristics.”
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             We review the substantive reasonableness of a sentence for
     abuse of discretion. Gall v. United States, 552 U.S. 38, 41 (2007). A
     court abuses its discretion when it “(1) fails to afford consideration
     to relevant factors that were due significant weight, (2) gives
     significant weight to an improper or irrelevant factor, or (3)
     commits a clear error of judgment in considering the proper
     factors”—that is, “when it considers the proper factors but balances
     them unreasonably.” United States v. Irey, 612 F.3d 1160, 1189
     (11th Cir. 2010) (en banc) (quotation omitted). We vacate a
     sentence as substantively unreasonable only when we are “left with
     the definite and firm conviction that the district court committed a
     clear error of judgment in weighing the § 3553(a) factors by
     arriving at a sentence that lies outside the range of reasonable
     sentences dictated by the facts of the case.” Id. at 1190 (quotation
     omitted).
            The district court once again acted within its discretion here.
     Hardwick’s insistence that the court “made no mention of ever
     considering Hardwick’s positive characteristics or history” finds no
     support in the record. The district judge read Hardwick’s
     sentencing memorandum and listened to his parents’ testimony,
     the defense’s arguments, and Hardwick’s supplications during the
     sentencing hearing. The court also explicitly considered the letters
     written on Hardwick’s behalf—even noting that it had never had a
     case with so many letters. And the court explained that it was well
     aware of Hardwick’s role as a family man and his history as a
     lawyer.
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            Ultimately, the court found that the factors in Hardwick’s
     favor simply did not outweigh those supporting a longer sentence.
     It imposed an upward variation in light of Hardwick’s “egregious
     behavior,” his “lack of remorse,” and the fact that his crimes
     “affected so many other people who suffered so many losses as a
     result.” Indeed, the court’s decision was made only “after
     considering all of the sentencing factors pursuant to 18 U.S.C.
     Section 3553(a).” (Emphasis added). What’s more, Hardwick’s
     180-month sentence is far below the statutory maximum of 470
     years—a fact we consider an “indicator of a reasonable sentence.”
     United States v. Dougherty, 754 F.3d 1353, 1362 (11th Cir. 2014).
            The district court fully considered the factors favoring
     Hardwick—it just gave them less weight than he would prefer. We
     affirm his sentence as substantively reasonable.
                              *      *      *
            We VACATE the restitution order for Hardwick and
     Maurya, along with the rest of Maurya’s sentence; AFFIRM
     Hardwick’s convictions and his sentence apart from the restitution
     order; and REMAND to the district court for further proceedings
     consistent with this opinion.
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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                       For rules and forms visit
Clerk of Court                                                                       www.ca11.uscourts.gov


                                        February 01, 2022

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 19-10746-CC ; 19-11040 -CC ; 19-12108 -CC ; 19-12140 -CC
Case Style: USA v. Asha Maurya
District Court Docket No: 1:16-cr-00065-ELR-CMS-2

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF
system by registering for an account at www.pacer.gov. Information and training materials
related to electronic filing are available on the Court's website. Enclosed is a copy of the court's
decision filed today in this appeal. Judgment has this day been entered pursuant to FRAP 36.
The court's mandate will issue at a later date in accordance with FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
timely only if received in the clerk's office within the time specified in the rules. Costs are
governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested
Persons a complete list of all persons and entities listed on all certificates previously filed by
any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
reheard must be included in any petition for rehearing or petition for rehearing en banc. See
11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
compensation for time spent on the appeal no later than 60 days after either issuance of mandate
or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
system.

For questions concerning the issuance of the decision of this court, please call the number
referenced in the signature block below. For all other questions, please call Carol R. Lewis, CC
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at (404) 335-6179.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Djuanna H. Clark
Phone #: 404-335-6151

                                               OPIN-1 Ntc of Issuance of Opinion
